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 1    Argumentative.     You can answer.

 2    BY MR. BECK:

 3            Q.     You can answer.

 4            A.     I think I'd say that that probably wasn't

 5    fair.    That's why he got a copy that day and he had the

 6    opportunity to appeal it.

 7            Q.     Oh, he did?

 8            A.     Yes.

 9            Q.     He got an opportunity to appeal the --

10            A.   He had a name-clearing -- opportunity for

11    name-clearing hearing.

12            Q.   Well, a name-clearing hearing is designed --

13    assuming a name-clearing hearing applied in this

14    instance, it's designed for people who believe they have

15    been slandered or discriminated against.        Is that right?

16            A.   I believe that's correct.

17            Q.   Do you know any other reason for which

18    someone can have a name-clearing hearing?

19            A.   No, I'm not aware.

20            Q.   So if none of those things happened, he

21    wouldn't have had a right to appeal it, would he?

22            A.   No.

23            Q.   And you didn't offer him a right to appeal

24    it, did you?

25            A.   No.      I offered him a right to his


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